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 4   Email: emily@lawdeleon.com

 5   Attorney for:
     Daniel Rios
 6
                                    UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
      UNITED STATES OF AMERICA,                      Case No. 1:16-CR-00096-LJO-SKO
10
                        Plaintiff
11
      DANIEL RIOS,
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                        Defendants.
13
                                                     STIPULATION AND ORDER FOR
14                                                   BRIEFING SCHEDULE
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT; HONORABLE DALE A.
     DROZD, UNITED STATES DISTRICT COURT JUDGE; AND JESSICA MASSEY,
17   ASSISTANT UNITED STATES ATTORNEY:
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            COMES NOW Defendant, DANIEL RIOS, by and through his attorney of record,
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     EMILY DELEON, hereby submitting the following proposed order for a briefing schedule
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     regarding the Defendant’s request for Compassionate Release.
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22   IT IS SO STIPULATED.
                                                              Respectfully Submitted,
23   DATED: 06/05/20                                          /s/ Emily Deleon______
24                                                            EMILY DELON
                                                              Attorney for Defendant
25                                                            Daniel Rios

26
     DATED: 06/05/20                                          /s/Jessica Massey____
27                                                            JESSICA MASSEY
                                                              Assistant U.S. Attorney
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     Case 1:16-cr-00096-AWI-SKO Document 152 Filed 06/08/20 Page 2 of 2


 1                                           ORDER
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           IT IS SO ORDERED that the BRIEFING SCHEDULE is as follows:
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 6         Defendant’s/Movant’s Supplemental Opening Brief June 23, 2020

 7         Government/Respondent’s Opposition Brief Due July 2, 2020

 8         Defendant’s/Movant’s Reply (if any) Due July 6, 2020
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10
     IT IS SO ORDERED.
11
        Dated:   June 8, 2020
12                                                UNITED STATES DISTRICT JUDGE
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